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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


 MARGARET CZERWIENSKI,
 LILIA KILBURN, and AMULYA
 MANDAVA

        Plaintiffs,
                                                        Case No. 1:22-cv-10202-JGD
 v.

 HARVARD UNIVERSITY AND THE
 PRESIDENT AND FELLOWS OF
 HARVARD COLLEGE

        Defendants.

DECLARATION OF CAROLIN GUENTERT IN SUPPORT OF PLAINTIFFS’ MOTION
 FOR LEAVE TO FILE REDACTED VERSIONS OF SEALED EXHIBITS FILED IN
SUPPORT OF HARVARD’S MOTIONS TO DISMISS AND FOR PARTIAL SUMMARY
                           JUDGMENT


       I, Carolin Guentert, hereby declare, under penalty of perjury, pursuant to 28 U.S.C. § 1746,

that the following is true and correct:

       1.      My name is Carolin Guentert. I am an attorney with the law firm of Sanford Heisler

Sharp, LLP, which is counsel for the Plaintiffs in the above-captioned matter. I was admitted to

appear Pro Hac Vice in this matter on March 8, 2022. I am fully familiar with the pleadings and

proceedings in this action and with the matters set forth herein.

       2.      I submit this Declaration in support of Plaintiffs’ Motion for Leave to File Redacted

Versions of Sealed Exhibits Filed In Support of Harvard’s Motions to Dismiss and for Partial

Summary Judgement.




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         3.        On May 31, 2022, Defendants filed a Motion For Leave To File Under Seal (Dkt.

18) documents in support of their Motion to Dismiss and for Partial Summary Judgement. On June

2, 2022, the Court granted Defendants’ Motion For Leave to File Under Seal (Dkt. 31).

         4.        Attached hereto are true and correct copies of the following exhibits:

 Ex.1         Harvard’s Office for Dispute Resolution’s (“ODR’s”) final report of its findings related

              to Amulya Mandava’s complaints with Plaintiffs’ proposed redactions. This document

              was filed under seal as Ex. A to Defendants’ Motion to Dismiss (Dkts. 19–20).

 Ex.2         ODR’s final report of its findings related to Margaret Czerwienski’s complaints with

              Plaintiffs’ proposed redactions. This document was filed under seal as Ex. B to

              Defendants’ Motion to Dismiss (Dkts. 19–20).

 Ex. 3        ODR’s final report of its findings related to Lilia Kilburn’s complaints with Plaintiffs’

              proposed redactions. This document was filed under seal as Ex. C to Defendants’

              Motion to Dismiss (Dkts. 19–20).

 Ex. 4        Notes concerning ODR’s interview with Ms. Kilburn’s therapist with Plaintiffs’

              proposed redactions. This document was filed under seal as Ex. 16 to Defendants’

              Motion for Partial Summary Judgement (Dkts. 24–29).

 Ex. 5        ODR’s communications with Ms. Kilburn’s therapist with Plaintiffs’ proposed

              redactions. This document was filed under seal as Ex. 17 to Defendants’ Motion for

              Partial Summary Judgement (Dkts. 24–29).

 Ex. 6        ODR’s communications with Ms. Kilburn transmitting her private therapy notes with

              Plaintiffs’ proposed redactions. This document was filed under seal as Ex. 19 to

              Defendants’ Motion for Partial Summary Judgement (Dkts. 24–29).




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 Ex. 7   ODR’s communications with Professor Comaroff transmitting Ms. Kilburn’s private

         therapy notes with Plaintiffs’ proposed redactions. This document was filed under seal

         as Ex. 20 to Defendants’ Motion for Partial Summary Judgement (Dkts. 24–29).

 Ex. 8   Notes concerning ODR’s final interview with Ms. Kilburn with Plaintiffs’ proposed

         redactions. This document was filed under seal as Ex. 21 to Defendants’ Motion for

         Partial Summary Judgement (Dkts. 24–29).



I declare under penalty of perjury that the foregoing is true and correct.



Executed on June 22, 2022                     /s/ Carolin Guentert
                                              Carolin Guentert (pro hac vice)




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